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 7   ATTORNEYS FOR WASHOE COUNTY
     DEFENDANTS
 8                   UNITED STATES DISTRICT COURT
 9                                   DISTRICT OF NEVADA
10                                               ***
     DREW RIBAR,
11
                   Plaintiff,                           Case No. 3:24-CV-00526-ART-CSD
12
            vs.
13                                                      OPPOSITION TO PLAINTIFF’S
     WASHOE COUNTY, NEVADA;                             MOTION TO WITHDRAW AND
14   WASHOE COUNTY LIBRARY                              AMEND ADMISSIONS, EXTEND
     SYSTEM; BUILD OUR CENTER, INC.;                    DISCOVERY DEADLINES, AND
15   JEFF SCOTT; STACY MCKENZIE;                        FOR PROTECTIVE ORDER UNDER
     JONNICA BOWEN; LIBRARY                             FRCP 36(b), 6(b)(1)(B), AND 26(c)
16   EMPLOYEE DOE #1; JENNIFER COLE;
     DEPUTY C. ROTHKIN (BADGE #5696);                   (ECF No. 87)
17   DEPUTY R. SAPIDA (BADGE #4663;
     SGT. GEORGE GOMEZ (BADGE
18   #4066); AND JOHN/JANE DOES 1+10,
19                 Defendants.\
                                         /
20          Washoe County, Washoe County Library System, Jeff Scott, Stacy McKenzie,
21   Jonnica Bowen, Jennifer Cole, Deputy Rothkin, Deputy Sapida, and Sgt. Gomez (“County
22   Defendants”) through counsel, Lindsay L. Liddell, Deputy District Attorney, hereby file
23   their Opposition to Plaintiff’s Motion to Withdraw and Amend Admissions, Extend
24   Discovery Deadlines, and for Protective Order Under FRCP 36(b), 6(b)(1)(B), and 26(c)
25   (ECF No. 87) (“Opposition”). This Opposition is based on the following Memorandum of
26   Points and Authorities, and the pleadings and papers on file.




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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2      I.       INTRODUCTION

 3            Plaintiff filed the instant motion seeking to withdraw deemed admissions to

 4   Defendant Washoe County’s First Set of Requests for Admission; deem Plaintiff’s responses

 5   to requests for admission and interrogatories as filed; extend the deadline for responses to

 6   requests for production to May 15, 2025; and issue a protective order quashing Request for

 7   Production No. 28 regarding Plaintiff’s AI chat logs. The latter was withdrawn (ECF No.

 8   93), but the admission withdrawal and extension remain at issue. Plaintiff claims excusable

 9   neglect due to alleged injuries sustained on March 19, 2025, in a rear-end collision and

10   expresses difficulty in managing his four current lawsuits.

11            While Defendants are certainly sympathetic to Plaintiff’s alleged injuries, the totality

12   of the circumstances do not show good cause nor excusable neglect to retroactively extend

13   deadlines or permit Rule 36 admission withdrawals. Moreover, as set forth below,

14   withdrawing the admissions would not preserve the merits and would prejudice County

15   Defendants as this case nears the close of discovery. The Motion should be denied, except

16   as to the stipulated withdrawals set forth in footnote 2 below.

17      II.      MEET AND CONFER

18            Pursuant to Local Rules IA 1-3(f) and Rule 1-1(b)(2), parties must first meet and

19   confer to try to resolve a discovery dispute in person, videoconference, or telephone. Plaintiff made

20   no effort to confer via telephone, nor even via email, regarding the proposed May 15th

21   extension or the request for production. Via email, Plaintiff requested to withdraw automatic

22   admissions and to extend deadlines until April 23, 2025. County Defendants’ counsel

23   explained that admissions can only be withdrawn by the Court, would not stipulate to a

24   retroactive extension, but would not move to compel responses before April 23.

25      III.     LEGAL ANALYSIS
                 A. THE MOTION SHOULD BE DENIED BASED ON PREJUDICE AND LACK OF
26                  GOOD CAUSE.




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 1            Under Federal Rule of Civil Procedure 36(b), a matter admitted is conclusively

 2   established absent court intervention. Rule 36(b) allows withdrawal or amendment of

 3   admissions only when the withdrawal would promote the presentation of the merits of the

 4   action and would not prejudice the requesting party. This rule “seeks to serve two important

 5   goals: truth-seeking in litigation and efficiency in dispensing justice.” Conlon v. United States,

 6   474 F.3d 616, 622 (9th Cir. 2007). When analyzing for prejudice to the requesting party,

 7   “district courts should focus on the prejudice that the nonmoving party would suffer at trial.”

 8   Id. at 623; see also Sonoda v. Cabrera, 255 F.3d 1035, 1039–40 (9th Cir.2001).

 9            Here, Plaintiff’s matters were deemed admitted due to his failure to timely respond

10   by the April 1, 2025 1 deadline. According to Plaintiff’s now stricken responses, proposed

11   denials include 2 requests to admit that the library has rules governing conduct (such rules

12   were produced), that the suspension appeal included due process (Plaintiff knows he received

13   notice and three levels of appeal), that Washoe County has a social media policy (the policy

14   was produced), that Plaintiff was trespassed during a 2024 library event based on his conduct

15   (demonstrated in Plaintiff’s video(s)), that Plaintiff was aware non-event areas of the library

16   were closed (demonstrated in Plaintiff’s video(s)), the parking lot was cordoned off during

17   the event (demonstrated in Plaintiff’s video(s)), that Plaintiff’s video shows him obstructing

18   the library door with his foot, that at a library in November 2024, deputies detained him

19   pursuant to NRS 171.123, and that he was also suspended from the library in 2023

20   (acknowledged in Request 7 response, and documentation regarding the 2023 suspension

21   was produced). There is no good faith factual basis to deny these requests, which are based

22   on records produced in discovery and serve only to eliminate needless factual issues.

23   Moreover, the proposed denials are deficient, lacking substantive response or explanation

24

25   1
       The Requests for Admission were served on February 27, 2025, with responses due by April 1, 2025.
     2
       County Defendants do not oppose withdrawing automatic admissions regarding request numbers 7, numbers
26   7, 57, and 58. Request 7 sought to verify a copy of Plaintiff’s library suspension notification and erroneously
     included a 2024 date, which he denied. because the document was his 2023 library suspension.




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 1   required by Rule 36. Allowing Plaintiff to withdraw or amend these already-admitted matters

 2   would disrupt the procedural framework established by the Federal Rules of Civil Procedure.

 3          Allowing Plaintiff to withdraw or amend these matters would severely prejudice

 4   Defendants by requiring additional discovery on basic facts already demonstrated through

 5   records exchanged in discovery. The Requests for Admission warned Plaintiff that failure to

 6   timely respond would result in automatic admissions. Ex. 1. Amending discovery responses

 7   a few weeks before the close of discovery significantly alters the litigation timeline at an

 8   advanced stage. Like the facts in Conlon, for well over a month, Defendants have relied on

 9   these admissions in formulating their defense strategy, with no indication that Plaintiff

10   intended to file a motion to not only withdraw his admissions, but to further amend them,

11   extend the discovery deadline, and seek a protective order. Permitting Plaintiff to proceed

12   with withdrawing or amending his matters would not only necessitate additional discovery,

13   delay resolution, and not preserve merits, but require Defendants to expend more time in

14   defending this case, wasting judicial resources and heightening attorney workload.

15          Additionally, good cause does not exist to permit withdrawals. Plaintiff states that on

16   March 19, 2025, he was involved in a rear-end collision, sustaining injuries which required

17   emergency care. Plaintiff cites to his difficulty in managing his current caseload – four

18   separate lawsuits he has chosen to pursue against Carson City, the Nevada Legislative

19   Counsel Bureau, and the Nevada DMV. Plaintiff mentions the impairment he has suffered

20   due to this collision has resulted in an inability to manage this caseload and an overall

21   hardship in his review process and computer time, ultimately affecting his response(s) to

22   Defendants’ discovery. To reiterate, Defendants have sympathy for any alleged injuries

23   Plaintiff may have suffered from an unfortunate rear-end collision. However, Defendants

24   contest the notion that this accident impaired Plaintiff enough for him to entirely miss two

25   separate discovery deadlines, while he was thereafter able to file multiple other documents

26   (including his voluminous Motion for Leave to Amend), post daily and continuous YouTube

     and Facebook videos, attend and provide comment at in-person public meetings.


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 1               Plaintiff’s hardships post-accident thus appear to be overstated. Plaintiff’s alleged

 2   accident occurred on March 19, 2025, yet Plaintiff failed to seek medical intervention until

 3   April 24, 2025, over a month after the alleged accident and almost a month after both

 4   discovery deadlines had passed. Further, Plaintiff provided in-person public comment at a

 5   Washoe County Library Board of Trustees meeting on March 19, 2025, 3 on information and

 6   belief, after the accident. 4 walking to and from the podium to speak. While Plaintiff’s alleged

 7   injuries may have physically impacted him, it is unclear how these circumstances have

 8   prevented timely responses but permitted him to engage in all of the above-described conduct.

 9   The Rules require parties to manage their cases efficiently, and Plaintiff’s failure to do so

10   should not be excused. See F.R.C.P. 16. Plaintiff’s motion does not demonstrate good cause

11   or excusable neglect, instead it bypasses Plaintiff’s lack of urgency and diligence in not only

12   seeking potential medical intervention for his alleged injuries, but in timely responding to

13   Defendants’ outstanding discovery requests. The totality of the circumstances show there is

14   no good cause or excusable neglect to permit withdrawals and otherwise retroactively extend

15   discovery response deadlines.

16         IV.      CONCLUSION

17               The Court should deny Plaintiff’s Motion based on a lack of excusable neglect and

18   good cause. Plaintiff’s failure to timely respond to Defendants’ discovery, alleged injury and

19   pro se status aside, is unjustifiable based on the totality of circumstances.

20               Dated this 8th day of May 2025.
                                                         By      /s/ Lindsay Liddell
21                                                            LINDSAY LIDDELL
                                                              Deputy District Attorney
22                                                            ANDREW COBI BURNETT
                                                              Deputy District Attorney
23                                                            ATTORNEYS FOR WASHOE COUNTY
                                                              DEFENDANTS
24

25
     3
      See https://www.youtube.com/watch?v=fs-3RCd0vas&t=7134s at 1:58:40 – 2:01:00.
26   4
      March 19, 2025, was the date of the alleged vehicle accident in question. At the latest hearing in this matter
     on April 28, 2025, on information and belief, Plaintiff mentioned the accident occurred on his way to a
     Washoe County Library Board of Trustees Meeting.


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 1                                  CERTIFICATE OF SERVICE

 2          Pursuant to FRCP 5(b), I certify that I am an employee of the Office of the District

 3   Attorney of Washoe County, over the age of 21 years and not a party to nor interested in the

 4   within action. I certify that on this date, I deposited for mailing in the U.S. Mails, with

 5   postage fully prepaid, a true and correct copy of the foregoing document in an envelope

 6   addressed to the following:

 7   DREW RIBAR
     3480 PERSHING LANE
 8   WASHOE VALLEY. NV 89704
 9          I certify that on this date, the foregoing was electronically filed with the United States
10   District Court. Electronic service of the foregoing document shall be made in accordance
11   with the Master Service List as follows:
12   ALISON R. KERTIS, ESQ.
13          Dated this 8th day of May, 2025.
14                                                       /s/ S. Haldeman
                                                         S. Haldeman
15

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 1                                   EXHIBIT INDEX

 2   EXHIBIT 1 Washoe County’s Requests For Admission To Plaintiff        2 pages

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                                     EXHIBIT INDEX
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